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 1                                                             THE HONORABLE RICHARD A. JONES

 2

 3

 4

 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6
     KURT SKAU, on behalf of himself and on behalf
 7   of others similarly situated,
                                                         NO. 2:18-cv-00681-RAJ

 8                         Plaintiff,                    PLAINTIFF’S REPLY IN SUPPORT OF
                                                         MOTION FOR REMAND
 9          v.

10   JBS CARRIERS, INC., a Delaware corporation,

                           Defendant.
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                                                                    TERRELL MARSHALL LAW GROUP PLLC
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 1                                      I. REPLY INTRODUCTION

 2          Defendant JBS Carriers, Inc. (“JBS”), seeks a second bite at the removal apple based on

 3   its misreading of the Ninth Circuit’s decision in Chavez v. JPMorgan Chase & Co., 888 F.3d 413

 4   (9th Cir. 2018). JBS contends that Chavez changed the law with respect to whether future

 5   attorneys’ fees may be included when determining the amount in controversy and therefore

 6   constitutes a change of circumstances sufficient to justify a successive petition for removal.

 7   But Chavez does not address the issue of future attorneys’ fees—there is no independent

 8   analysis of the question, no consideration of the effect such a decision would have on the

 9   scope of federal jurisdiction, and no discussion of the well-established split among both Circuit

10   and district courts. Thus, Chavez did not resolve whether future attorneys’ fees may be

11   included when calculating the jurisdictional amount.

12          Put simply, there is no intervening change in the law that renders incorrect Judge

13   Coughenour’s prior remand order, which rejected JBS’ argument that future, unaccrued

14   attorneys’ fees may be included in the amount in controversy. See Skau v. JBS Carriers, Inc.,

15   2:17-cv-01499-JCC, Dkt. 21, p. 4 (Nov. 30, 2017). As such, Chavez is not a change in

16   circumstances sufficient to justify JBS’ successive petition for removal, making the petition

17   both untimely and improper.

18          JBS likewise fails to overcome the strong presumption against removal jurisdiction. As

19   the party seeking removal, JBS has the heavy burden of establishing by a preponderance of

20   the evidence that the amount in controversy exceeds $75,000. Even if Chavez had decided

21   that future attorneys’ fees may be included in the amount in controversy (it did not), JBS

22   disregards well-established Ninth Circuit precedent holding that attorneys’ fees in class

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 1   actions cannot be attributed solely to the named plaintiff when determining the amount in

 2   controversy. JBS also fails to provide non-speculative evidence showing that Mr. Skau’s pro-

 3   rata share of fees (even including future attorneys’ fees) is likely to result in an amount in

 4   controversy that exceeds the jurisdictional threshold. Any estimate of future attorneys’ fees in

 5   this matter is pure conjecture at this stage of the litigation given the small class size and the

 6   parties’ agreement that this case is suitable for early resolution.

 7          For the reasons set forth in his Motion to Remand (“Motion”), Dkt. 13, and those set

 8   forth below, Plaintiff respectfully requests that the Court grant his Motion and award him the

 9   attorneys’ fees and costs incurred as a result of JBS’ improper removal.

10                                  II. AUTHORITY AND ARGUMENT

11   A.     Chavez does not constitute a change of circumstances justifying a successive
            petition for removal.
12
            “A successive removal petition is proper only upon a ‘relevant change of
13
     circumstances’—that is, ‘when subsequent pleadings or events reveal a new and different
14
     ground for removal.’” Reyes v. Dollar Tree Stores, Inc., 781 F.3d 1185, 1188 (9th Cir. 2015)
15
     (emphasis in original) (quoting Kirkbride v. Cont’l Cas. Co., 933 F.2d 729, 732 (9th Cir. 1991)).
16
     The Ninth Circuit has recognized that an intervening change of law may justify a successive
17
     petition only if the change gives rise to a new basis for subject-matter jurisdiction or renders
18
     the grounds for the district court’s initial remand order incorrect. See Reyes, 781 F.3d at 1188;
19
     see also Rea v. Michaels Stores Inc., 742 F.3d 1234, 1238 (9th Cir. 2014) (finding a successive
20
     removal proper where the remand was based “on grounds that subsequently became
21
     incorrect”); Kirkbride, 933 F.2d at 732 (holding that newly enacted legislation which gave the
22
     FDIC different removal rights than its predecessor justified a successive petition for removal).
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 1   JBS argues that Judge Coughenour’s remand order, which declined to include post-removal

 2   attorney’s fees in determining the amount in controversy, “subsequently became incorrect” in

 3   light of the Ninth Circuit’s recent decision in Chavez. This argument is erroneous

 4          The Chavez decision does not address whether future attorney’s fees are appropriately

 5   included in calculating the amount in controversy. JBS’ own brief acknowledges this point,

 6   noting that “according to the Ninth Circuit, it was unnecessary for it to consider the other

 7   relief sought, including punitive damages and attorneys’ fees because unearned wages were

 8   alone sufficient to satisfy the amount in controversy.” Response, Dkt. 17, p. 5. Indeed, the sole

 9   issue presented by Chavez was whether alleged future damages incurred after the date of

10   removal should be considered in determining whether the jurisdictional threshold is met. The

11   Court’s answer in the affirmative was direct and succinct: “When we say that the amount in

12   controversy is assessed at the time of removal, we mean that we consider damages that are

13   claimed at the time the case is removed by the defendant.” Chavez, 888 F.3d at 417 (emphasis

14   added).

15          While Chavez does restate the well-established and unremarkable proposition that the

16   amount in controversy may include some measure of attorneys’ fees awardable under fee

17   shifting statutes, id. at 416, nothing in the Court’s reasoning suggests that it was deciding the

18   unresolved question of whether post-removal attorneys’ fees are among those that may be

19   considered. The issue was not briefed by the parties. See Chavez v. JPMorgan Chase & Co., No.

20   16-55957, Dkt. 20, 2017 WL 282912 (9th Cir. Jan. 20, 2017) (Appellants Opening Brief);

21   Dkt. 30, 2017 WL 1251163 (9th Cir. Mar. 27, 2017) (Appellee’s Answering Brief); Dkt. 37, 2017

22   WL 1856461 (9th Cir. May 5, 2017) (Appellant’s Reply Brief); see also Second Declaration of

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 1   Toby Marshall in Support of Plaintiff’s Motion to Remand (“Second Marshall Decl.”) ¶ 2; Exs.

 2   A–C. And despite widespread disagreement both between the Circuits and among district

 3   courts within this Circuit, see Grieff v. Brigandi Coin Co., No. C14-214 RAJ, 2014 WL 2608209,

 4   at *2-3 (W.D. Wash. Jun. 11, 2014) (collecting cases), the Chavez decision engages in no

 5   analysis of the measure of fees to be considered in determining whether the jurisdictional

 6   threshold is met.

 7          JBS nevertheless maintains that Chavez’s holding with respect to future wage loss

 8   extends to the inclusion of future attorneys’ fees. Response, Dkt. 17, p. 5; Petition for

 9   Removal, Dkt. No. 1, p. 3. But this argument ignores the critical differences between future

10   damages arising from the alleged injury, which relate back to the same injury or harm, and

11   future attorneys’ fees, which are speculative and dependent on the legal strategy of the

12   respective parties. See Grieff, 2014 WL 2608209, at *3.

13          As for JBS’s reliance on Bernstein v. BMW and Lucas v. Michael Kors, neither decision

14   lends support to the assertion that Chavez effected a change of law with respect to post-

15   removal attorneys’ fees. To begin, both courts determined that the amount in controversy

16   satisfied the jurisdictional threshold exclusive of attorneys’ fees. Bernstein v. BMW of North

17   Am., LLC, No. 18-cv-01801-JSC, 2018 WL 2210683, at *2 (N.D. Cal. May 15, 2018); Lucas v.

18   Michael Kors (USA), Inc., No. CV 18-1608-MWF (MRWx), 2018 WL 2146403, at *12 (C.D. Cal.

19   May 9, 2018). More importantly, both courts recognized that Chavez did not explicitly decide

20   the question of whether post-removal attorneys’ fees may be included in calculating the

21   amount in controversy. Bernstein, 2018 WL 2210683, at *2, n.3 (noting that the Ninth Circuit’s

22   decision in Chavez “suggests that attorney’s fees in the context of the amount in controversy

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 1   requirement should be calculated based on the total possible recovery and not just the fees

 2   incurred to date” (emphasis added)); Lucas, 2018 WL 2146403, at *11 (finding Chavez

 3   “strongly suggests that the Ninth Circuit would find it appropriate to consider post-removal

 4   attorney’s fees” (emphasis added)). As the Lucas court correctly acknowledged, Chavez

 5   “considered the amount in controversy threshold for diversity jurisdiction and whether future

 6   wages could be included, not . . . whether post-removal attorney’s fees could be included.”

 7   Lucas, 2018 WL 2146403, at *11.

 8          In sum, there is no basis for concluding that the Ninth Circuit decided an unresolved

 9   split among Circuit and district courts—which would have broad-reaching effects on the scope

10   of federal jurisdiction—without any analysis or briefing from the parties. And while JBS may

11   contend that Chavez could be considered persuasive on that point, it does not constitute a

12   change of law that renders incorrect the grounds for Judge Coughenour’s prior order

13   remanding this action. As such, Chavez is not a “change in circumstances” sufficient to justify

14   JBS’ successive petition for removal, and the petition is both untimely and improper. See

15   Reyes, 781 F.3d at 1188.

16   B.     JBS has not met its burden of establishing that the amount in controversy
            exceeds the $75,000 threshold.
17
            JBS next argues that the jurisdictional amount is satisfied because the entirety of the
18   $49,707.52 in attorneys’ fees incurred to date should be allocated to Mr. Skau. This argument

19   ignores the extensive authority cited in Plaintiff’s opening brief holding that attorneys’ fees in

20   class actions must be allocated among the members of the proposed class for the purposes

     of determining the amount in controversy unless the underlying statute limits such an award
21
     only to the named plaintiffs. Motion, Dkt. 13, p. 17-18. Washington’s Wage and Hour statutes
22
     contain no such limitation. See RCW 49.46.090(2); RCW 49.48.030; and RCW 49.52.070.
23   Accordingly, any attorneys’ fees included in the amount in
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     controversy must be allocated among proposed class members. See Gibson v. Chrysler Corp.,
 2   261 F.3d 927, 942 (9th Cir. 2001), holding modified on other grounds by Exxon Mobil Corp. v.

 3   Allapattah Servs., Inc., 545 U.S. 546 (2005). JBS asserts that Mr. Skau’s damages total

 4   $53,648.66 and agrees that Mr. Skau’s pro rata share of attorneys’ fees at the time of

     removal is $2,485.38. Response, Dkt. 17, at 8. Thus, the total amount in controversy is
 5
     $56,134.04—still $18,865.97 short of exceeding the jurisdictional threshold. Declaration of
 6
     Toby Marshall, Dkt. 14, ¶ 5.
 7          Even assuming that Chavez did change the law regarding the inclusion of post-removal

 8   attorneys’ fees (it did not), JBS has failed to meet its burden of establishing that the

     jurisdictional amount is satisfied by a preponderance of the evidence. See Matheson v.
 9
     Progressive Specialty Ins. Co., 319 F.3d 1089, 1090 (9th Cir. 2003). In considering whether
10
     future attorneys’ fees should be included in the amount in controversy, district courts have
11   required evidence sufficient to make a “reasonable, informed estimation of fees.” Roe v.

12   Teletech Customer Care Mgmt. (CO), LLC, No. C07-5149 RBL, 2007 WL 1655172, at *4 (W.D.

13   Wash. June 6, 2007). A court cannot base a finding of jurisdiction on a defendant’s

     speculation and conjecture. Roth v. Comerica Bank, 799 F. Supp. 2d 1107, 1118 (9th Cir.
14
     2010). And if there is any doubt as to the right of removal in the first instance, federal
15
     jurisdiction must be rejected. Roe, 2007 WL 1655172, at *5 (citing Gaus v. Miles, Inc., 980
16   F.2d 564, 566 (9th Cir. 1992)).

17          The parties agree that to carry its burden of establishing the jurisdictional amount, JBS

     must demonstrate, by a preponderance of the evidence, that the proposed class will incur at
18
     least $377,319.40 in future attorneys’ fees, adding an additional $18,865.97 to Mr. Skau’s pro
19
     rata share of fees. Response, Dkt. 17, p. 9. In support of its contention that the proposed
20   class is likely to incur nearly $400,000 in additional fees, JBS points to fee awards granted to
21   Plaintiff’s counsel in other actions from which it purports to base a “reasonable estimate” of

22   the number of hours counsel are likely to expend here. In particular, JBS relies on the fee

     award in Helde v. Knight Transp., Inc., No. 2:12-cv-00904-RSL (W.D. Wash.). But Helde
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 1
     provides a poor comparison for the potential trajectory of this case.
 2          To start, Helde involved three named plaintiffs and a class of 233 drivers, more than

 3   ten times the size of the 20-person class at issue in this action. To account for the smaller

 4   class size, JBS argues that the Court can reasonably estimate that counsel will seek to recover

     an additional 1,553.75 hours of attorney time, a 45% reduction of the 2,825 post-removal
 5
     hours spent litigating Helde. There are several problems with this approach. First, a more
 6
     appropriate analysis would be to look at the proportional amount of fees allocated to each
 7   class member in Helde. When the award of $1,166,244.96 is divided by 233, the result is just

 8   over $5,000 in attorneys’ fees per class member. This is nowhere close to the more than

     $18,000 in fees that JBS must establish to reach the jurisdictional threshold for Mr. Skau.
 9
            Second, the estimate is entirely speculative, without any reasonable basis in fact or
10
     support in the record. The parties are currently cooperating in good faith to exchange the
11   information necessary to participate in well-informed settlement negotiations and both

12   parties agree that the case is well-suited for early resolution. Declaration of Toby Marshall,

13   Dkt. 14, ¶ 7. Any future attorneys’ fees that counsel will incur will depend on a large number

     of contingent factors, including the success of the parties’ settlement negotiations.
14
            Third, since Helde was filed in 2012, Courts have ruled on many of the undecided legal
15
     issues concerning the rights of truck-driver employees counsel spent significant time litigating
16   in Helde. For example, the district court in Helde initially dismissed Plaintiffs’ rest break claims

17   on summary judgment, finding them preempted by the Federal Aviation Administration

     Authorization Act (“FAAAA”). Helde v. Knight Transp., Inc., 982 F. Supp. 2d 1189, 1192-94
18
     (W.D. Wash. 2013). The Ninth Circuit later held that state rest break laws are not preempted
19
     by the FAAAA, Dilts v. Penske Logistics, LLC, 769 F.3d 637, 647-50 (9th Cir. 2014), and after
20   additional briefing, the district court reinstated the rest break claims, Helde v. Knight Transp.,
21   Inc., No. C12-0904RSL, Dkt. 124 (W.D. Wash. Aug. 19. 2014).

22          In addition, the Washington Supreme Court has further clarified the rights of piece-

     rate employees like Mr. Skau. In Demtrio v. Sakuma Bros. Farms, Inc. 183 Wn.2d 649, 653
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 1
     (2015), the Court held that “employers must pay employees for rest breaks separate and
 2   apart from the piece rate.” In light of these developments, the parties need not engage in the

 3   extensive briefing on these issues required in Helde. Not only is the proposed class here a

 4   small fraction of the size at issue in Helde, but Mr. Skau’s rights are much more clearly

     established. The five years of aggressive litigation Helde involved simply does not provide a
 5
     useful benchmark for estimating the total fees likely to be incurred in this case.
 6
            The arbitrary nature of JBS’ estimate of future attorneys’ fees is highlighted by the fact
 7   that even small adjustments to that estimate result in fees that fail to generate a pro-rata

 8   share attributable to Mr. Skau sufficient for the amount in controversy to exceed the

     jurisdictional threshold. An estimate of 1,469 additional hours, a 48% reduction of the post-
 9
     removal hours spent litigating Helde, is equally plausible (though still exceedingly high) but
10
     would result in additional attorneys’ fees of only $370,188 ($252 x 1,469 hours), more than
11   $7,000 short of the $377,319.40 required for Mr. Skau’s pro rata share to bring the amount in

12   controversy above the $75,000 threshold.

13          JBS’ reference to fee awards in other actions litigated by Plaintiff’s counsel does not

     provide any additional support for its contention that counsel are likely to incur an additional
14
     $377,319.40 in fees in this action. None of the cases cited are sufficiently analogous to
15
     provide a reasonable benchmark for estimating the future attorneys’ fees in this case. See
16   Chesbro v. Best Buy Stores, L.P., No. 2:10-CV-00774-RAJ, 2014 WL 11906648 (W.D. Wash.

17   Sept. 19, 2014) (action under the Telephone Consumer Protection Act with a class size of

     more than 400,000); Wilbur v. City of Mount Vernon, No. C11-1100RSL, 2014 WL 11961980
18
     (W.D. Wash. Apr. 15, 2014) (civil rights action involving constitutionally deficient system of
19
     public defense in Mount Vernon and Burlington); Bronzich v. Persels & Associates, No. C10-
20   0364, Dkt. 311 (E.D. Wash. January 25, 2013) (CPA action alleging violations of the
21   Washington Debt Adjusting Act; with nearly 3,000 class members); Milligan v. Toyota Motor

22   Sales, U.S.A., Inc., No. C 09-05418 RS, 2012 WL 10277179 (N.D. Cal. Jan. 6, 2012) (action

     arising from a manufacturing defect in the engine control module of Toyota Rav4 vehicles
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 1
         with a proposed class numbering in the hundreds of thousands) Estate of Brown v. Consumer
 2       Law Assocs., LLC, No. 11-CV-0194-TOR, 2013 WL 2285368, at *6 (E.D. Wash. May 23, 2013)

 3       (CPA action alleging violations of the Washington Debt Adjusting Act with 893 class

 4       members); Barnett v. Wal-Mart Stores, Inc., No. 01-2-24553-8 SEA, 2009 WL 2194864 (Wash.

         Super. Ct. July 20, 2009) (wage and hour action on behalf of hourly employees of Wal-Mart
 5
         Stores with a class comprised of thousands of current and former employees).
 6
                Finally, some courts within the Ninth Circuit apply a twenty-five percent benchmark of
 7       potential class damages to calculate potential attorneys’ fees for wage and hour class action

 8       cases. See Lucas, 2018 WL 2146403, at *11-12. Here, JBS has failed to present any evidence

         that would allow this Court to conclude that twenty-five percent of the potential damages in
 9
         this case would exceed the jurisdictional threshold. Indeed, JBS would have to demonstrate
10
         that the potential damages in this case exceed $1,500,000 in order for Mr. Skau’s pro rata
11       portion of the resulting twenty-five percent attorneys’ fees to match the jurisdictional

12       threshold.1 JBS has not done so. Even assuming all 20 class members have the same damages

13       as Mr. Skau (which is hardly plausible), the total amount of damages in controversy is only

         $1,072,973 (20 x $53,648.66); twenty-five percent of that is $268,243, with Mr. Skau’s
14
         portion thereof equaling $13,412. Again, as set forth above, this is not enough to reach the
15
         jurisdictional threshold.
16              Thus, even if the Court finds that future attorneys’ fees may be considered in

17       determining the amount in controversy, JBS has failed to present evidence sufficient to meet

         its burden of showing that Mr. Skau’s share of fees will exceed the jurisdictional threshold. As
18
         such, remand is proper.
19

20

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     1
22    As set forth above, the proposed class would need to incur at least $377,319.40 in future attorneys’ fees in
     order for JBS to potentially meet the jurisdictional threshold here. Twenty-five percent of $1,500,000 is
     $375,000. Thus, potential damages would need to exceed $1,500,000 to support a finding that the requisite
23   amount of attorneys’ fees under the twenty-five percent benchmark is met here.
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 1   C.     Plaintiff should be awarded the fees and costs incurred in challenging JBS’
            improper successive petition for removal.
 2
            An award of attorneys’ fees and costs is proper when there was no “objectively
 3   reasonable basis” for seeking removal. Kerbs v. Safeco Ins. Co. of Ill., Inc., No. C11-1642 MJP,

 4   2011 WL 6012497, at *4 (W.D. Wash. Dec. 1, 2011) (citing Martin v. Franklin Capital Corp.,

 5   546 U.S. 132, 140 (2005)). JBS’ contention that Chavez effected a change of law sufficient to

     justify a successive petition for removal despite the absence of any express holding or
 6
     analysis of post-removal attorneys’ fees on its own should be sufficient to award Plaintiff his
 7
     fees and costs. But JBS follows its mischaracterization of Chavez by once again ignoring well-
 8   established Ninth Circuit precedent that attorneys’ fees in class actions must be allocated

 9   among the proposed class and tacking on a speculative assessment of the future attorneys’

     fees likely to be incurred in this action. JBS has failed to provide any objectively reasonable
10
     basis in law or fact for a successive removal to federal court.
11
            JBS’ contention that counsel failed to comply with the Court’s Standing Order does not
12   warrant denial of Plaintiff’s request for fees and costs. Plaintiff’s motion clearly sets forth Mr.

13   Skau’s intention to timely submit a statement of the attorneys’ fees and costs he has incurred

14   if the Court agrees that an award of fees and costs is appropriate. Motion, Dkt. 13, p. 20.

     Indeed, submitted with this reply is the Second Declaration of Toby Marshall, which outlines
15
     the fees and costs Mr. Skau has incurred in challenging JBS’ removal. Second Marshall Decl.,
16
     Exs. D–E.
17          Because JBS has provided no objectively reasonable basis for removal, Mr. Skau should

18   be reimbursed for the attorneys’ fees and costs set forth in the Second Declaration of Toby

     Marshall, which absent JBS’ improper removal, otherwise would not have been incurred. See
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     Second Marshall Decl. ¶¶ 5–21; Exs. D–E.
20

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 1                                          III. CONCLUSION

 2          For the foregoing reasons, Mr. Skau respectfully requests that the Court grant his

 3   motion to remand and award him the attorneys’ fees and costs he incurred in challenging JBS’

 4   improper removal.

 5          RESPECTFULLY SUBMITTED AND DATED this 6th day of July, 2018.

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 1                                       CERTIFICATE OF SERVICE

 2          I, Toby J. Marshall, hereby certify that on July 6, 2018, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to the following:

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 1          DATED this 6th day of July, 2018.

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